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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
14               Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
15         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
16   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                     Defendants.                  DOCKET NO. 513]
18

19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                 Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 513]
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 1             Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 4   Under Seal (“Administrative Motion”) (Dkt. 513). Plaintiffs identified portions of their Motion to

 5   Exclude the Expert Testimony of Terrence McGraw (the “Motion to Exclude”) and exhibits A-E

 6   to the Declaration of Micah G. Block in Support of the Motion to Exclude (“Block Declaration”)

 7   (collectively, the “Materials”) as containing references to documents that Defendants have

 8   designated as confidential pursuant to the Stipulated Protective Order (Dkt. No. 132). Defendants

 9   provide their position regarding sealing of the Materials below.

10   I.        LEGAL STANDARD

11             Although courts recognize a general right to inspect and copy public records, “access to

12   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

13   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

14   are to the merits of the case. “A party seeking leave to file documents under seal in conjunction

15   with a non-dispositive motion” need only show “good cause exists to file the information under

16   seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH, 2018 WL 2392561,

17   at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause” standard, the relevant

18   inquiry is “whether good cause exists to protect the information from being disclosed to the public

19   by balancing the needs for discovery against the need for confidentiality.” Wells Fargo & Co. v.

20   ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

21   (Hamilton, J.).     Here, the Materials are not filed in connection with a dispositive motion.

22   Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires only “a

23   particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

24   Kamakana, 447 F.3d at 1180.

25   II.       DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

26             As shown below, good cause exists warranting sealing the highlighted portions of Plaintiff’s

27   Motion to Exclude (Dkt. 513-3) and the entirety of Exhibits attached to the Block Declaration (Dkt

28   513-4).

                                                        1
     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                          Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 513]
     Case 4:19-cv-07123-PJH           Document 536           Filed 01/16/25     Page 3 of 3



 1           Exhibits A and B to the Block Declaration are Mr. McGraw’s Expert Report and Rebuttal

 2   Report. Exhibits C, D, and E to the Block Declaration are excerpts of the deposition excerpts of

 3   Mr. McGraw, Tamir Gazneli, and Yaron Shohat deposition transcripts. All of these Exhibits have

 4   been designated as “Highly Confidential—Attorney’s Eyes Only” pursuant to the Stipulated Protective

 5   Order in this case (Dkt. No. 132). These materials, together with the Motion to Exclude that heavily

 6   cites to them, consist almost exclusively of information of a highly technical nature that is subject

 7   to foreign law restrictions on public disclosure. Defendants received a limited license to disclose

 8   this information in this proceeding, but the license requires that Defendants ask the Court to seal it.

 9   These expert reports and deposition excerpts are also replete with highly confidential technical

10   information regarding the functioning of Defendants’ technology, and expert analysis of both

11   WhatsApp’s and NSO’s technologies, the disclosure of which would put NSO at a competitive

12   disadvantage, which would warrant sealing even absent the foreign law restrictions. Finjan, Inc. v.

13   Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016) (recognizing “compelling

14   reasons to seal . . . information about the technical operation of the products, financial revenue data,

15   and excerpts from expert depositions [and] expert report[s]”); Transperfect Global, Inc. v.

16   MotionPoint Corp., 2013 WL 706975, at *1 (N.D. Cal. Feb. 26, 2013) (“proprietary information

17   concerning [a party’s] technology and internal business operations” and “descriptions of [a party’s]

18   proprietary technology” warrant sealing).

19          Accordingly, Defendants respectfully request that the Court grant Plaintiffs’ Administrative

20   Motion in full and order the foregoing Materials to be kept under seal.

21

22    Dated: January 16, 2025                               KING & SPALDING LLP

23                                                          By: /s/ Aaron S. Craig
                                                            JOSEPH N. AKROTIRIANAKIS
24                                                          AARON S. CRAIG
25                                                          Attorneys for Defendants

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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
       STATEMENT [DKT. 513]
